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                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

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ODEN VASQUEZ, individually and on behalf
of all others similarly situated;                                    Civil Action No.:

                                    Plaintiff(s),
                  -against-                                          CLASS ACTION COMPLAINT


AMSHER COLLECTION SERVICES, INC.                                     DEMAND FOR JURY TRIAL

                                Defendant(s).
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         Plaintiff, ODEN VASQUEZ (hereinafter, “Plaintiff”), a New Jersey resident, brings this

Class Action Complaint by and through his attorneys, Marcus & Zelman, LLC, against

Defendant AMSHER COLLECTION SERVICES, INC. (hereinafter “Defendant”), individually

and on behalf of a class of all others similarly situated, pursuant to Rule 23 of the Federal Rules

of Civil Procedure, based upon information and belief of Plaintiff’s counsel, except for

allegations specifically pertaining to Plaintiff, which are based upon Plaintiff’s personal

knowledge.



                         INTRODUCTION/PRELIMINARY STATEMENT

    1. Congress enacted the FDCPA in 1977 in response to the “abundant evidence of the use of

         abusive, deceptive, and unfair debt collection practices by many debt collectors.” 15 U.S.C.

         § 1692(a). At that time, Congress was concerned that “abusive debt collection practices

         contribute to the number of personal bankruptcies, to material instability, to the loss of

         jobs, and to invasions of individual privacy.” Id. Congress concluded that “existing laws .

         . . [we]re inadequate to protect consumers,” and that “the effective collection of debts”
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    does not require “misrepresentation or other abusive debt collection practices.” 15 U.S.C.

    §§ 1692(b) & (c).

 2. Congress explained that the purpose of the Act was not only to eliminate abusive debt

    collection practices, but also to “insure that those debt collectors who refrain from using

    abusive debt collection practices are not competitively disadvantaged.” Id. § 1692(e). After

    determining that the existing consumer protection laws were inadequate, id. § 1692(b),

    Congress gave consumers a private cause of action against debt collectors who fail to

    comply with the Act. Id. § 1692k.



                               JURISDICTION AND VENUE

 3. The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C. § 1692

    et seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction over

    the state law claims in this action pursuant to 28 U.S.C. § 1367(a).

 4. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                                NATURE OF THE ACTION

 5. Plaintiff brings this class action on behalf of a class of New Jersey consumers under §

    1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

    Collections Practices Act (“FDCPA”), and

 6. Plaintiff is seeking damages, and declaratory and injunctive relief.

                                           PARTIES

 7. Plaintiff is a natural person and a resident of the County of Monmouth, State of New Jersey,

    and is a “Consumer” as defined by 15 U.S.C. §1692(a)(3).

 8. Defendant is a collection agency with its registered office located at 4524 Southlake
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    Parkway, Suite 15, Birmingham, Alabama.

 9. Upon information and belief, Defendant is a company that uses the mail, telephone, or

    facsimile in a business the principal purpose of which is the collection of debts, or that

    regularly collects or attempts to collect debts alleged to be due another.

 10. Defendant is a “debt collector,” as defined under the FDCPA under 15 U.S.C. § 1692a(6).


                                 ALLEGATIONS OF FACT

 11. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

    numbered above herein with the same force and effect as if the same were set forth at length

    herein.

 12. Some time prior to January 24, 2017, an obligation was allegedly incurred to T-MOBILE.

 13. The T-MOBILE obligation arose out of a transaction in which money, property, insurance

    or services, which are the subject of the transaction, are primarily for personal, family or

    household purposes.

 14. The alleged T-MOBILE obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

 15. T-MOBILE is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

 16. T-MOBILE or a subsequent owner of the T-MOBILE debt contracted the Defendant to

    collect the alleged debt.

 17. Defendant is a company that uses mail, telephone or facsimile in a business the principal

    purpose of which is the collection of debts, or that regularly collects or attempts to collect

    debts incurred or alleged to have been incurred for personal, family or household purposes

    on behalf of creditors.

 18. On or about January 24, 2017, Defendant sent to the Plaintiff a collection letter (the

    “Letter”) regarding the alleged T-MOBILE debt. See Exhibit A.
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 19. Upon information and belief, the Letter was the first communication from Defendant to the

     Plaintiff with regards to the T-MOBILE debt.

 20. Plaintiff received the letter and read it.

 21. The Letter states in part:

             “Original Creditor: T-MOBILE”

 22. Although the Letter identifies which entity the alleged debt incurred from, the Letter fails

     to identify Plaintiff’s current creditor.

 23. The Plaintiff, as would any least sophisticated consumer, was left unsure as to what creditor

     Defendant was attempting to collect for.

 24. Pursuant to 15 U.S.C. §1692g, a debt collector is required in the initial communication

     with a consumer, to identify the name of the creditor to whom the debt is owed.

 25. The obligation is not only to identify the name of the creditor, but to convey the name of

     the creditor clearly and explicitly.

 26. Congress adopted the debt validation provisions of section 1692g to guarantee that

     consumers would receive adequate notice of their rights under the FDCPA. Wilson, 225

     F.3d at 354, citing Miller v. Payco–General Am. Credits, Inc., 943 F.2d 482, 484 (4th

     Cir.1991).

 27. Congress further desired to “eliminate the recurring problem of debt collectors dunning the

     wrong person or attempting to collect debts which the consumer has already paid.” S.Rep.

     No. 95–382, at 4 (1977), reprinted in 1977 U.S.C.C.A.N. 1695, 1699.

 28. The rights afforded to consumers under Section 1692g(a) are amongst the most powerful

     protections provided by the FDCPA.

 29. The FDCPA gives consumers a statutory right to receive certain information, including the
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    name of the creditor to whom the debt collector is attempting to collect for, which the

    Plaintiff was deprived of in this case.

 30. As a result of the Defendant’s violations of the FDCPA, the Plaintiff was harmed.

 31. Defendant’s actions as described herein are part of a pattern and practice used to collect

    consumer debts.

                                    CLASS ALLEGATIONS

 32. Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ. P. 23(a)

    and 23(b)(3).

 33. The Class consists of (a) all individuals with addresses in the County of Monmouth, State

    of New Jersey (b) to whom Defendant (c) sent an initial collection letter attempting to

    collect a consumer debt (d) without identifying the name of the current creditor to whom

    the debt is owed (e) which letter was sent on or after a date one year prior to the filing of

    this action and on or before a date 21 days after the filing of this action.

 34. The identities of all class members are readily ascertainable from the records of Defendants

    and those companies and entities on whose behalf they attempt to collects and/or have

    purchased debts.

 35. Excluded from the Plaintiff Classes are the Defendants and all officers, members, partners,

    managers, directors, and employees of the Defendants and their respective immediate

    families, and legal counsel for all parties to this action and all members of their immediate

    families.

 36. There are questions of law and fact common to the Plaintiff Classes, which common issues

    predominate over any issues involving only individual class members. The principal issue

    is whether the Defendants’ written communications to consumers, in the forms attached as
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     Exhibits A, violate 15 U.S.C. §§ 1692g.

 37. The Plaintiffs’ claims are typical of the class members, as all are based upon the same facts

     and legal theories.

 38. The Plaintiffs will fairly and adequately protect the interests of the Plaintiff Classes defined

     in this complaint. The Plaintiffs have retained counsel with experience in handling

     consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiffs nor

     their attorneys have any interests, which might cause them not to vigorously pursue this

     action.

 39. This action has been brought, and may properly be maintained, as a class action pursuant

     to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a well-

     defined community interest in the litigation:

     (a)       Numerosity: The Plaintiffs are informed and believe, and on that basis allege, that

               the Plaintiff Classes defined above are so numerous that joinder of all members

               would be impractical.

     (b)       Common Questions Predominate: Common questions of law and fact exist as to

               all members of the Plaintiff Classes and those questions predominate over any

               questions or issues involving only individual class members. The principal issue is

               whether the Defendants’ written communications to consumers, in the forms

               attached as Exhibit A, violate 15 U.S.C. §§ 1692g.

     (c)       Typicality: The Plaintiffs’ claims are typical of the claims of the class members.

               The Plaintiffs and all members of the Plaintiff Classes have claims arising out of

               the Defendants’ common uniform course of conduct complained of herein.

     (d)       Adequacy: The Plaintiffs will fairly and adequately protect the interests of the class
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            members insofar as Plaintiffs have no interests that are adverse to the absent class

            members. The Plaintiffs are committed to vigorously litigating this matter.

            Plaintiffs have also retained counsel experienced in handling consumer lawsuits,

            complex legal issues, and class actions. Neither the Plaintiffs nor their counsel have

            any interests which might cause them not to vigorously pursue the instant class

            action lawsuit.

    (e)     Superiority: A class action is superior to the other available means for the fair and

            efficient adjudication of this controversy because individual joinder of all members

            would be impracticable. Class action treatment will permit a large number of

            similarly situated persons to prosecute their common claims in a single forum

            efficiently and without unnecessary duplication of effort and expense that

            individual actions would engender.

 40. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is also

    appropriate in that the questions of law and fact common to members of the Plaintiff

    Classes predominate over any questions affecting an individual member, and a class action

    is superior to other available methods for the fair and efficient adjudication of the

    controversy.

 41. Depending on the outcome of further investigation and discovery, Plaintiffs may, at the

    time of class certification motion, seek to certify a class(es) only as to particular issues

    pursuant to Fed. R. Civ. P. 23(c)(4).




                              COUNT I
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                         15 U.S.C. §1692g et seq.
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   42. Plaintiff, individually and on behalf of all others similarly situated, repeats, reiterates and

       incorporates the allegations contained in paragraphs above herein with the same force and

       effect as if the same were set forth at length herein.

   43. Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff violated

       various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

   44. Pursuant to 15 U.S.C. §1692g, a debt collector is required in the initial communication

       with a consumer, to identify the name of the creditor to whom the debt is owed.

   45. The Defendant violated section 1692g(a)(2) by failing to identify the current creditor.

   46. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's conduct

       violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

       and attorneys’ fees.



                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

              (a)     Declaring that this action is properly maintainable as a Class Action and

       certifying Plaintiff as Class representative, and Ari Marcus, Esq., and Yitzchak Zelman,

Esq. as Class Counsel;

              (b)     Awarding Plaintiff and the Class statutory damages;

              (c)     Awarding Plaintiff and the Class actual damages;

              (d)     Awarding Plaintiff costs of this Action, including reasonable attorneys’

              fees and expenses;

              (e)     Awarding pre-judgment interest and post-judgment interest; and

              (f)     Awarding Plaintiff and the Class such other and further relief as this Court
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                may deem just and proper.

Dated: December 7, 2017                             /s/ Ari H. Marcus
                                                     Ari Marcus, Esq.
                                                     MARCUS & ZELMAN, LLC
                                                     1500 Allaire Avenue, Suite 101
                                                     Ocean, New Jersey 07712
                                                     (732) 695-3282 telephone
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                                                     Attorneys for Plaintiff


                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.


Dated: December 7, 2017                             /s/ Ari H. Marcus
                                                     Ari Marcus, Esq.


                        CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I, Ari H. Marcus, the undersigned attorney of record for Plaintiff, do hereby certify to my

own knowledge and based upon information available to me at my office, the matter in controversy

is not the subject of any other action now pending in any court or in any arbitration or

administrative proceeding.


Dated: December 7, 2017                             /s/ Ari H. Marcus
                                                     Ari Marcus, Esq.
